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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division

    In re:                                                                 Case No.
                                      1
              LeClairRyan, PLLC,                                           19-34574-KRH

              Debtor                                                       Chapter
                                                                           7


                     PROPOSED AMENDED AGENDA FOR HEARING ON
                 OCTOBER 24, 2019, AT 1:00 P.M. (PREVAILING EASTERN TIME)

             Set forth below are the matters scheduled to be heard before the Honorable Kevin R.

    Huennekens, United States Bankruptcy Judge, in Room 5000, United States Courthouse, 701 East

    Broad Street, Richmond, Virginia 23219, on October 24, 2019, beginning at 1:00 p.m.

    I.       ADJOURNED MATTERS OF THE DEBTOR

         1. “Cash Management”–Motion of LeClairRyan PLLC for Entry of an Order (I) Authorizing
            the Debtor to Maintain Existing Bank Accounts and Business Forms and Continue to Use
            Existing Cash Management System and (II) Waiving the Requirements of Section 345(b)
            of the Bankruptcy Code [ECF No. 7]

             Related Documents:

                 a. Interim Order (I) Authorizing Debtor to Maintain Existing Bank Accounts and
                    Business Forms and Continue to Use Existing Cash Management System and (II)
                    Waiving the Requirements of Section 345(b) of the Bankruptcy Code [ECF No. 40]

                 b. Notice of Motion and Notice of Hearing (Notice of Filing of Chapter 11 Petition,
                    First Day Motions, and Proposed Hearing on First Day Motions) (Re: related

    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


Paula S. Beran, Esquire (Va. Bar No. 34679)
David N. Tabakin, Esquire (Va. Bar No. 82709)
Tavenner & Beran, PLC
20 North Eighth Street, Second Floor
Richmond, Virginia 23219
Telephone: (804) 783-8300
Telecopy: (804) 783-0178

    Counsel for Lynn L. Tavenner, Chapter 7 Trustee
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            document(s) 4 Motion to Approve filed by LeClairRyan PLLC, 5 Motion to Extend
            Time to File Lists, Schedules and/or Statements filed by LeClairRyan PLLC, 6
            Motion to Approve filed by LeClairRyan PLLC, 7 Motion to Approve filed by
            LeClairRyan PLLC, 8 Motion to Approve filed by LeClairRyan PLLC, 9 Motion
            to File Documents(s) Under Seal filed by LeClairRyan PLLC, 11 Motion to
            Approve filed by LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan
            PLLC, 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan PLLC,
            15 Motion to Expedite Hearing filed by LeClairRyan PLLC) filed by Tyler P.
            Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
            scheduled for 9/3/2019 at 01:00 PM at Judge Phillips’ Courtroom, 701 E. Broad
            St., Rm. 5100, Richmond, Virginia. (Brown, Tyler) [ECF No. 16]

         c. Hearing held before Hon. Keith L. Phillips; Motion GRANTED on Interim Basis,
            Final Hearing Set (Re: related document(s) 7 Motion to Approve filed by
            LeClairRyan PLLC) Hearing scheduled for 9/26/2019 at 02:00 PM at Judge
            Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
            Appearances: Toby Long for Debtor; Robert B. Van Arsdale for the Office of the
            U.S. Trustee. (Oliver, Betty) [ECF No. 26]

         d. Interim Order (I) Authorizing Debtor to Maintain Existing Bank Accounts and
            Business Forms and Continue to Use Existing Cash Management System and (II)
            Waiving the Requirements of Section 345(b) of the Bankruptcy Code. Order setting
            Hearing (Re: related document(s) 7 Motion to Approve filed by LeClairRyan
            PLLC) Final Hearing scheduled for 9/26/2019 at 02:00 PM at Judge Huennekens’
            Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Ramirez-Lowe,
            Suzan) [ECF No. 40]

         e. Certificate of Service (Re: related document(s) 1 Chapter 11 Voluntary Petition
            filed by LeClairRyan PLLC, 3 Declaration filed by LeClairRyan PLLC, 4 Motion
            to Approve filed by LeClairRyan PLLC, 5 Motion to Extend Time to File Lists,
            Schedules and/or Statements filed by LeClairRyan PLLC, 6 Motion to Approve
            filed by LeClairRyan PLLC, 7 Motion to Approve filed by LeClairRyan PLLC, 8
            Motion to Approve filed by LeClairRyan PLLC, 9 Motion to File Documents(s)
            Under Seal filed by LeClairRyan PLLC, 11 Motion to Approve filed by
            LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan PLLC, 13 Motion
            to Approve Use of Cash Collateral filed by LeClairRyan PLLC, 14 Declaration
            filed by LeClairRyan PLLC, 15 Motion to Expedite Hearing filed by LeClairRyan
            PLLC, 16 Notice of Motion and Notice of Hearing filed by LeClairRyan PLLC, 17
            Statement filed by LeClairRyan PLLC) filed by Henry Pollard Long III of Hunton
            Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 44]

         f. Affidavit of Service (Re: related document(s) 35 Order on Motion to Extend Time
            to File Lists Schedules and/or Statements LBR 1007-1, 36 Order on Motion to
            Expedite Hearing, 37 Order on Motion to Approve, 38 Order on Motion to



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             Approve, 40 Order Continuing/Rescheduling/Setting Hearing, 41 Order
             Continuing/Rescheduling/Setting Hearing, 42 Order on Motion to File
             Document(s) Under Seal, 43 Order Continuing/Rescheduling/Setting Hearing, 48
             Order of Designation, 51 Order Continuing/Rescheduling/Setting Hearing, 52
             Order Directing) filed by Jennifer Ellen Wuebker of Hunton Andrews Kurth LLP
             on behalf of LeClairRyan PLLC. (Wuebker, Jennifer) [ECF No. 73]

         g. Final Hearing continued; (Re: related document(s) 7 Motion to Approve filed by
            LeClairRyan PLLC) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
            Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
            Appearance: Tyler Brown. (Oliver, Betty) [ECF No. 111]


       Response Deadline:   October 17, 2019

       Responses Filed:     None

       Status:              The Trustee will request that interim relief be continued and that a
                            final hearing be set for November 21, 2019 at 1:00 p.m.

   2. “Receivables Motion”– Motion of LeClairRyan PLLC for Entry of Interim and Final
      Orders Approving Settlement Procedures for Compromising Accounts Receivable and
      Related Relief [ECF No. 8]

      Related Documents:

         a. Motion to File Document(s) Under Seal (Motion of LeClairRyan PLLC Pursuant
            to Sections 105 and 107 of the Bankruptcy Code and Bankruptcy Rule 9018 for
            Entry of an Order Authorizing LeClairRyan PLLC to File Under Seal Exhibit B to
            the Motion to LeClairRyan PLLC for Entry of Interim and Final Orders Approving
            Settlement Procedures and Compromising Accounts Receivable and Related
            Relief) (Related Document(s) 8 Motion to Approve filed by LeClairRyan PLLC)
            filed by Tyler P. Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan
            PLLC. (Brown, Tyler) [ECF No. 9]

         b. Sealed Exhibit [ECF No. 10]

         c. Notice of Motion and Notice of Hearing (Notice of Filing of Chapter 11 Petition,
            First Day Motions, and Proposed Hearing on First Day Motions) (Re: related
            document(s) 4 Motion to Approve filed by LeClairRyan PLLC, 5 Motion to Extend
            Time to File Lists, Schedules and/or Statements filed by LeClairRyan PLLC, 6
            Motion to Approve filed by LeClairRyan PLLC, 7 Motion to Approve filed by
            LeClairRyan PLLC, 8 Motion to Approve filed by LeClairRyan PLLC, 9 Motion
            to File Documents(s) Under Seal filed by LeClairRyan PLLC, 11 Motion to
            Approve filed by LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan


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            PLLC, 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan PLLC,
            15 Motion to Expedite Hearing filed by LeClairRyan PLLC) filed by Tyler P.
            Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
            scheduled for 9/3/2019 at 01:00 PM at Judge Phillips’ Courtroom, 701 E. Broad
            St., Rm. 5100, Richmond, Virginia. (Brown, Tyler) [ECF No. 16]

         d. Hearing held before Hon. Keith L. Phillips; Motion GRANTED (Re: related
            document(s) 9 Motion to File Documents(s) Under Seal filed by LeClairRyan
            PLLC) Appearance: Jason Harbour for Debtor. (Oliver, Betty) [ECF No. 29]

         e. Hearing held before Hon. Keith L. Phillips; Motion GRANTED on Interim Basis
            as set out in open court, Final Hearing Set (Re: related document(s) 8 Motion to
            Approve filed by LeClairRyan PLLC) Hearing scheduled for 9/26/2019 at 02:00
            PM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
            Virginia. Appearances: Jason Harbour for Debtor; Douglas Foley for ABL
            Alliance, LLLP; Robert Van Arsdale for Office of the U.S. Trustee. (Oliver, Betty)
            [ECF No. 30]

         f. Order Authorizing LeClairRyan PLLC to File Under Seal Exhibit B to the Motion
            of LeClairRyan PLLC for Entry of Interim and Final Orders Approving Settlement
            Procedures for Compromising Accounts Receivable and Related Relief [ECF No.
            42]

         g. Certificate of Service (Re: related document(s) 1 Chapter 11 Voluntary Petition
            filed by LeClairRyan PLLC, 3 Declaration filed by LeClairRyan PLLC, 4 Motion
            to Approve filed by LeClairRyan PLLC, 5 Motion to Extend Time to File Lists,
            Schedules and/or Statements filed by LeClairRyan PLLC, 6 Motion to Approve
            filed by LeClairRyan PLLC, 7 Motion to Approve filed by LeClairRyan PLLC, 8
            Motion to Approve filed by LeClairRyan PLLC, 9 Motion to File Documents(s)
            Under Seal filed by LeClairRyan PLLC, 11 Motion to Approve filed by
            LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan PLLC, 13 Motion
            to Approve Use of Cash Collateral filed by LeClairRyan PLLC, 14 Declaration
            filed by LeClairRyan PLLC, 15 Motion to Expedite Hearing filed by LeClairRyan
            PLLC, 16 Notice of Motion and Notice of Hearing filed by LeClairRyan PLLC, 17
            Statement filed by LeClairRyan PLLC) filed by Henry Pollard Long III of Hunton
            Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 44]

         h. Interim Order Approving Settlement Procedures for Compromising Accounts
            Receivable and Related Relief, and Scheduling a Final Hearing [ECF No. 51]

         i. Affidavit of Service (Re: related document(s) 35 Order on Motion to Extend Time
            to File Lists Schedules and/or Statements LBR 1007-1, 36 Order on Motion to
            Expedite Hearing, 37 Order on Motion to Approve, 38 Order on Motion to
            Approve, 40 Order Continuing/Rescheduling/Setting Hearing, 41 Order
            Continuing/Rescheduling/Setting Hearing, 42 Order on Motion to File


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             Document(s) Under Seal, 43 Order Continuing/Rescheduling/Setting Hearing, 48
             Order of Designation, 51 Order Continuing/Rescheduling/Setting Hearing, 52
             Order Directing) filed by Jennifer Ellen Wuebker of Hunton Andrews Kurth LLP
             on behalf of LeClairRyan PLLC. (Wuebker, Jennifer) [ECF No. 73]

          j. Final Hearing continued; (Re: related document(s) 8 Motion to Approve filed by
             LeClairRyan PLLC) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
             Appearance: Tyler Brown. (Oliver, Betty) [ECF No. 112]


       Response Deadline:    October 17, 2019

       Responses Filed:      None

                             The Trustee will request that a final order be entered granting the
                             Motion as modified, with the modifications being that (a) the Chapter
                             7 Trustee shall replace the role of the “Debtor,” (b) consent from the
       Status:
                             Office of the United States Trustee is no longer required given the
                             conversion to Chapter 7; and (c) Lender’s consent shall not be required
                             upon (i) full payment of its secured indebtedness and (ii) Lender’s
                             written acknowledgement to the same.

   3. “Wages Motion”– Motion of LeClairRyan PLLC for Entry of Interim and Final Orders (I)
      Authorizing Debtor to Pay Prepetition Wages and Salaries; and (II) Directing Applicable
      Financial Institutions to Honor and Process Related Checks and Transfers [ECF No. 11]

      Related Documents:

          a. Notice of Motion and Notice of Hearing (Notice of Filing of Chapter 11 Petition,
             First Day Motions, and Proposed Hearing on First Day Motions) (Re: related
             document(s) 4 Motion to Approve filed by LeClairRyan PLLC, 5 Motion to Extend
             Time to File Lists, Schedules and/or Statements filed by LeClairRyan PLLC, 6
             Motion to Approve filed by LeClairRyan PLLC, 7 Motion to Approve filed by
             LeClairRyan PLLC, 8 Motion to Approve filed by LeClairRyan PLLC, 9 Motion
             to File Documents(s) Under Seal filed by LeClairRyan PLLC, 11 Motion to
             Approve filed by LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan
             PLLC, 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan PLLC,
             15 Motion to Expedite Hearing filed by LeClairRyan PLLC) filed by Tyler P.
             Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
             scheduled for 9/3/2019 at 01:00 PM at Judge Phillips’ Courtroom, 701 E. Broad
             St., Rm. 5100, Richmond, Virginia. (Brown, Tyler) [ECF No. 16]

          b. Hearing held before Hon. Keith L. Phillips; Motion GRANTED on Interim Basis
             as set out in open court, Final Hearing Set (Re: related document(s) 11 Motion to


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             Approve filed by LeClairRyan PLLC) Hearing scheduled for 9/26/2019 at 02:00
             PM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
             Virginia. Appearance: Tyler Brown for Debtor. (Oliver, Betty) [ECF No. 31]

         c. Interim Order (I) Authorizing LeClairRyan PLLC to Pay Prepetition Wages and
            Salaries; (II) Directing Applicable Financial Institutions to Honor and Process
            Related Checks and Transfers; and (III) Granting Related Relief [ECF No. 43]

         d. Certificate of Service (Re: related document(s) 1 Chapter 11 Voluntary Petition
            filed by LeClairRyan PLLC, 3 Declaration filed by LeClairRyan PLLC, 4 Motion
            to Approve filed by LeClairRyan PLLC, 5 Motion to Extend Time to File Lists,
            Schedules and/or Statements filed by LeClairRyan PLLC, 6 Motion to Approve
            filed by LeClairRyan PLLC, 7 Motion to Approve filed by LeClairRyan PLLC, 8
            Motion to Approve filed by LeClairRyan PLLC, 9 Motion to File Documents(s)
            Under Seal filed by LeClairRyan PLLC, 11 Motion to Approve filed by
            LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan PLLC, 13 Motion
            to Approve Use of Cash Collateral filed by LeClairRyan PLLC, 14 Declaration
            filed by LeClairRyan PLLC, 15 Motion to Expedite Hearing filed by LeClairRyan
            PLLC, 16 Notice of Motion and Notice of Hearing filed by LeClairRyan PLLC, 17
            Statement filed by LeClairRyan PLLC) filed by Henry Pollard Long III of Hunton
            Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 44]

         e. Affidavit of Service (Re: related document(s) 35 Order on Motion to Extend Time
            to File Lists Schedules and/or Statements LBR 1007-1, 36 Order on Motion to
            Expedite Hearing, 37 Order on Motion to Approve, 38 Order on Motion to
            Approve, 40 Order Continuing/Rescheduling/Setting Hearing, 41 Order
            Continuing/Rescheduling/Setting Hearing, 42 Order on Motion to File
            Document(s) Under Seal, 43 Order Continuing/Rescheduling/Setting Hearing, 48
            Order of Designation, 51 Order Continuing/Rescheduling/Setting Hearing, 52
            Order Directing) filed by Jennifer Ellen Wuebker of Hunton Andrews Kurth LLP
            on behalf of LeClairRyan PLLC. (Wuebker, Jennifer) [ECF No. 73]

         f. Final Hearing continued; (Re: related document(s) 11 Motion to Approve filed by
            LeClairRyan PLLC) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
            Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
            Appearance: Tyler Brown. (Oliver, Betty) [ECF No. 113]


       Response Deadline:   October 17, 2019

       Responses Filed:     None

                            The Trustee will request that the Motion be granted on a final basis,
       Status:
                            with the clarification that certain relief is extended to the Trustee on
                            behalf of the Estate.


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   4. “Assumption Motion”– Omnibus Motion of LeClairRyan PLLC for Entry of Interim and
      Final Orders Authorizing the Debtor to Assume Certain Executory Contracts [ECF No. 12]

      Related Documents:

          a. Notice of Motion and Notice of Hearing (Notice of Filing of Chapter 11 Petition,
             First Day Motions, and Proposed Hearing on First Day Motions) (Re: related
             document(s) 4 Motion to Approve filed by LeClairRyan PLLC, 5 Motion to Extend
             Time to File Lists, Schedules and/or Statements filed by LeClairRyan PLLC, 6
             Motion to Approve filed by LeClairRyan PLLC, 7 Motion to Approve filed by
             LeClairRyan PLLC, 8 Motion to Approve filed by LeClairRyan PLLC, 9 Motion
             to File Documents(s) Under Seal filed by LeClairRyan PLLC, 11 Motion to
             Approve filed by LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan
             PLLC, 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan PLLC,
             15 Motion to Expedite Hearing filed by LeClairRyan PLLC) filed by Tyler P.
             Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
             scheduled for 9/3/2019 at 01:00 PM at Judge Phillips’ Courtroom, 701 E. Broad
             St., Rm. 5100, Richmond, Virginia. (Brown, Tyler) [ECF No. 16]

          b. Hearing held before Hon. Keith L. Phillips; Motion GRANTED on Interim Basis,
             Final Hearing Set (Re: related document(s) 12 Motion to Assume filed by
             LeClairRyan PLLC) Hearing scheduled for 9/26/2019 at 02:00 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
             Appearance: Tyler Brown for Debtor. (Oliver, Betty) [ECF No. 28]

          c. Certificate of Service (Re: related document(s) 1 Chapter 11 Voluntary Petition
             filed by LeClairRyan PLLC, 3 Declaration filed by LeClairRyan PLLC, 4 Motion
             to Approve filed by LeClairRyan PLLC, 5 Motion to Extend Time to File Lists,
             Schedules and/or Statements filed by LeClairRyan PLLC, 6 Motion to Approve
             filed by LeClairRyan PLLC, 7 Motion to Approve filed by LeClairRyan PLLC, 8
             Motion to Approve filed by LeClairRyan PLLC, 9 Motion to File Documents(s)
             Under Seal filed by LeClairRyan PLLC, 11 Motion to Approve filed by
             LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan PLLC, 13 Motion
             to Approve Use of Cash Collateral filed by LeClairRyan PLLC, 14 Declaration
             filed by LeClairRyan PLLC, 15 Motion to Expedite Hearing filed by LeClairRyan
             PLLC, 16 Notice of Motion and Notice of Hearing filed by LeClairRyan PLLC, 17
             Statement filed by LeClairRyan PLLC) filed by Henry Pollard Long III of Hunton
             Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 44]

          d. Interim Order Authorizing the Debtor to Assume Certain Executory Contracts (Re:
             related document(s) 12 Motion to Assume filed by LeClairRyan PLLC) (Ramirez-
             Lowe, Suzan) [ECF No. 52]



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          e. Affidavit of Service (Re: related document(s) 35 Order on Motion to Extend Time
             to File Lists Schedules and/or Statements LBR 1007-1, 36 Order on Motion to
             Expedite Hearing, 37 Order on Motion to Approve, 38 Order on Motion to
             Approve, 40 Order Continuing/Rescheduling/Setting Hearing, 41 Order
             Continuing/Rescheduling/Setting Hearing, 42 Order on Motion to File
             Document(s) Under Seal, 43 Order Continuing/Rescheduling/Setting Hearing, 48
             Order of Designation, 51 Order Continuing/Rescheduling/Setting Hearing, 52
             Order Directing) filed by Jennifer Ellen Wuebker of Hunton Andrews Kurth LLP
             on behalf of LeClairRyan PLLC. (Wuebker, Jennifer) [ECF No. 73]

          f. Final Hearing continued; (Re: related document(s) 12 Motion to Assume filed by
             LeClairRyan PLLC) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
             Appearance: Tyler Brown (Oliver, Betty) [ECF No. 114]


       Response Deadline:    October 17, 2019

                             Objection of Super-Server, LLC to Motion by Debtor to Assume
       Responses Filed:
                             Executory Contracts [ECF No. 88]


                             The Trustee will request that the Motion be withdrawn as it relates to
       Status:               the contracts of Lori D. Thompson, Esq. and Christopher J. Lange,
                             Esq. With respect to the contract of On-Site Associates, LLC, the
                             Trustee will request that the Motion be granted on a final basis.


   5. Motion to Authorize (Motion for Entry of an Order Authorizing and Directing Payment of
      Client Expense Reimbursements) filed by Jason William Harbour of Hunton Andrews
      Kurth LLP on behalf of LeClairRyan PLLC. (Harbour, Jason) [ECF No. 71]

      Related Documents:

          a. Notice of Motion and Notice of Hearing (Re: related document(s) 66 Application
             to Employ filed by LeClairRyan PLLC, 67 Application to Employ filed by
             LeClairRyan PLLC, 68 Motion to Appoint filed by LeClairRyan PLLC, 69 Motion
             to Reject filed by LeClairRyan PLLC, 70 Motion to Approve filed by LeClairRyan
             PLLC, 71 Motion to Authorize filed by LeClairRyan PLLC) filed by Henry Pollard
             Long III of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
             scheduled for 9/26/2019 at 02:00 PM at Judge Huennekens’ Courtroom, 701 E.
             Broad St., Rm. 5000, Richmond, Virginia. (Long, Henry) [ECF No. 72]

          b. Affidavit of Service (Re: related document(s) 66 Application to Employ filed by
             LeClairRyan PLLC, 67 Application to Employ filed by LeClairRyan PLLC, 68


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             Motion to Appoint filed by LeClairRyan PLLC, 69 Motion to Reject filed by
             LeClairRyan PLLC, 70 Motion to Approve filed by LeClairRyan PLLC, 71 Motion
             to Authorize filed by LeClairRyan PLLC, 72 Notice of Motion and Notice of
             Hearing filed by LeClairRyan PLLC) filed by Jennifer Ellen Wuebker of Hunton
             Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Wuebker, Jennifer) [ECF
             No. 75]

          c. Statement (Notice of Revised Proposed Orders) (Re: related document(s) 18
             Motion to Reject filed by LeClairRyan PLLC, 66 Application to Employ filed by
             LeClairRyan PLLC, 67 Application to Employ filed by LeClairRyan PLLC, 68
             Motion to Appoint filed by LeClairRyan PLLC, 70 Motion to Approve filed by
             LeClairRyan PLLC, 71 Motion to Authorize filed by LeClairRyan PLLC) filed by
             Henry Pollard Long III of Hunton Andrews Kurth LLP on behalf of LeClairRyan
             PLLC. (Long, Henry) [ECF No. 102]

          d. Hearing continued; (Re: related document(s) 71 Motion to Authorize filed by
             LeClairRyan PLLC) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
             Appearance: Jason Harbour. (Oliver, Betty) [ECF No. 121]


       Response Deadline:    October 17, 2019

                             Limited Objection of ABL Alliance, LLLP to Motion for Entry of an
       Responses Filed:      Order Authorizing and Directing Payment of Client Expense
                             Reimbursements [ECF No. 100]

       Status:               This Trustee will request that the hearing on the Motion be continued
                             to November 21, 2019 at 1:00 p.m.

   6. Motion to Approve Use of Cash Collateral (Motion of LeClairRyan PLLC for Entry of
      Interim and Final Orders Authorizing the Debtor to Use Cash Collateral and Granting
      Adequate Protection and Related Relief) filed by Tyler P. Brown of Hunton Andrews Kurth
      LLP on behalf of LeClairRyan PLLC. (Brown, Tyler) [ECF No. 13]

      Related Documents:

          a. Declaration (Declaration of Guy A. Davis in Support of Motion of LeClairRyan
             PLLC for Entry of Interim and Final Orders Authorizing the Debtor to Use Cash
             Collateral and Granting Adequate Protection and Related Relief) (Re: related
             document(s) 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan
             PLLC) filed by Tyler P. Brown of Hunton Andrews Kurth LLP on behalf of
             LeClairRyan PLLC. (Brown, Tyler) [ECF No. 14]




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         b. Notice of Motion and Notice of Hearing (Notice of Filing of Chapter 11 Petition,
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            Time to File Lists, Schedules and/or Statements filed by LeClairRyan PLLC, 6
            Motion to Approve filed by LeClairRyan PLLC, 7 Motion to Approve filed by
            LeClairRyan PLLC, 8 Motion to Approve filed by LeClairRyan PLLC, 9 Motion
            to File Documents(s) Under Seal filed by LeClairRyan PLLC, 11 Motion to
            Approve filed by LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan
            PLLC, 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan PLLC,
            15 Motion to Expedite Hearing filed by LeClairRyan PLLC) filed by Tyler P.
            Brown of Hunton Andrews Kurth LLP on behalf of LeClairRyan PLLC. Hearing
            scheduled for 9/3/2019 at 01:00 PM at Judge Phillips’ Courtroom, 701 E. Broad
            St., Rm. 5100, Richmond, Virginia. (Brown, Tyler) [ECF No. 16]

         c. Hearing held before Hon. Keith L. Phillips; Motion GRANTED on Interim Basis,
            Final Hearing Set. Declaration of Guy A. Davis #14 ADMITTED (Re: related
            document(s) 13 Motion to Approve Use of Cash Collateral filed by LeClairRyan
            PLLC) Hearing scheduled for 9/26/2019 at 02:00 PM at Judge Huennekens’
            Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. Appearances: Jason
            Harbour for Debtor; Douglas Foley for ABL Alliance LLLP. (Oliver, Betty) [ECF
            No. 32]

         d. Interim Order Authorizing the Debtor to Use Cash Collateral and Granting
            Adequate Protection and Related Relief. (Re: related document(s) 13 Motion to
            Approve Use of Cash Collateral filed by LeClairRyan PLLC) Final hearing
            scheduled for 9/26/2019 at 02:00 PM at Judge Huennekens’ Courtroom, 701 E.
            Broad St., Rm. 5000, Richmond, Virginia. (Ramirez-Lowe, Suzan) [ECF No. 41]

         e. Certificate of Service (Re: related document(s) 1 Chapter 11 Voluntary Petition
            filed by LeClairRyan PLLC, 3 Declaration filed by LeClairRyan PLLC, 4 Motion
            to Approve filed by LeClairRyan PLLC, 5 Motion to Extend Time to File Lists,
            Schedules and/or Statements filed by LeClairRyan PLLC, 6 Motion to Approve
            filed by LeClairRyan PLLC, 7 Motion to Approve filed by LeClairRyan PLLC, 8
            Motion to Approve filed by LeClairRyan PLLC, 9 Motion to File Documents(s)
            Under Seal filed by LeClairRyan PLLC, 11 Motion to Approve filed by
            LeClairRyan PLLC, 12 Motion to Assume filed by LeClairRyan PLLC, 13 Motion
            to Approve Use of Cash Collateral filed by LeClairRyan PLLC, 14 Declaration
            filed by LeClairRyan PLLC, 15 Motion to Expedite Hearing filed by LeClairRyan
            PLLC, 16 Notice of Motion and Notice of Hearing filed by LeClairRyan PLLC, 17
            Statement filed by LeClairRyan PLLC) filed by Henry Pollard Long III of Hunton
            Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 44]

         f. Declaration of John McCauley (Re: related document(s) 13 Motion to Approve Use
            of   Cash      Collateral filed    by     LeClairRyan    PLLC,      41   Order



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                 Continuing/Rescheduling/Setting Hearing) filed by Douglas M. Foley of
                 McGuireWoods LLP on behalf of ABL Alliance, LLLP. (Attachments: # 1
                 Exhibit(s) A # 2 Exhibit(s) B) (Foley, Douglas) [ECF No. 110]

             g. Hearing held; Motion GRANTED on Interim Basis with terms as set out in open
                court (Re: related document(s) 13 Motion to Approve Use of Cash Collateral filed
                by LeClairRyan PLLC) Appearances: Tyler Brown; Douglas Foley; Joseph
                Liberatore; Alexander Green. (Oliver, Betty) [ECF No. 122]


           Response Deadline:   October 17, 2019


                                Objection to Motion to Use Cash Collateral (Re: related document(s)
                                13 Motion to Approve Use of Cash Collateral filed by LeClairRyan
                                PLLC) filed by Karen M. Crowley of Crowley Liberatore P.C. on
                                behalf of Super-Server, LLC. (Attachments: # 1 Service List)
                                (Crowley, Karen) [ECF No. 89]
           Responses Filed:     Motion for Joinder with Super-Servicer LLC’s Objection to Debtor’s
                                Motion to Use Cash Collateral (Related Document(s)89 Objection to
                                Motion/Application filed by Super-Server, LLC) filed by Alexander
                                Richard Green of Beiramee Law Group P.C. on behalf of iManage,
                                LLC. (Attachments: # 1 Certificate of Service with Service List)
                                (Green, Alexander) [ECF No. 98]


                                This matter is moot given the (a) conversion to Chapter 7 and (b)
                                Trustee’s filing of an additional motion regarding the use of cash
           Status:
                                collateral. As such, the Motion may be withdrawn from the Court’s
                                docket.


 II.      UNCONTESTED MATTERS OF THE TRUSTEE

       7. Trustee’s Motion to Authorize (Motion for Immediate Authority to Operate Certain
          Aspects of Debtor’s Business for a Limited Period and to Shorten Notice Thereof, and
          Memorandum in Support Thereof) filed by Paula S. Beran of Tavenner & Beran, PLC on
          behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 144]

          Related Documents:

             a. Notice of Motion and Notice of Hearing (Re: related document(s) 143 Motion to
                Approve Use of Cash Collateral filed by Lynn L. Tavenner, 144 Motion to
                Authorize filed by Lynn L. Tavenner, 145 Motion to Expedite Hearing filed by



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             Lynn L. Tavenner) filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of
             Lynn L. Tavenner. Hearing scheduled for 10/4/2019 at 01:30 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Beran,
             Paula) [ECF No. 146]

         b. Hearing held and continued; Motion Granted on Interim Basis; Order to be
            submitted (Re: related document(s) 144 Motion to Authorize filed by Lynn L.
            Tavenner) Appearances: Paula Beran, Douglas Foley; Robert Van Arsdale. Hearing
            scheduled for 10/24/2019 at 01:00 PM at Judge Huennekens’ Courtroom, 701 E.
            Broad St., Rm. 5000, Richmond, Virginia. (Oliver, Betty) [ECF No. 149]

         c. Interim Order Authorizing Trustee to Operate Certain Aspects of Debtor’s Business
            for a Limited Period. (Re: related document(s) 144 Motion to Authorize filed by
            Lynn L. Tavenner) Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
            Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
            (Bullock, Nathaniel) [ECF No. 155]

         d. Supplemental Motion to Authorize (Trustee’s Supplement to Her Motion for
            Authority to Operate Certain Aspects of the Debtor’s Business for a Limited Period
            and Memorandum in Support Thereof) (Related Document(s) [144] Motion to
            Authorize filed by Lynn L. Tavenner) filed by Paula S. Beran of Tavenner & Beran,
            PLC on behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 165]


       Response Deadline:   October 21, 2019


       Responses Filed:     None.


                            The Trustee will request that the Court enter an Order, in
                            substantially the same form as Exhibit A attached to the Supplement
                            as referenced above in subsection 7(d): (1) authorizing the Trustee to
       Status:              continue to conduct the Wind-down Operations (as defined in the
                            Supplement); (2) setting a continued hearing for December 19, 2019
                            at 1:00 p.m.; and (3) granting such other and further relief as is just
                            and appropriate under the circumstances.




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   8. Trustee’s Motion to Approve Use of Cash Collateral (Motion for Use of Cash Collateral
      and Grant of Adequate Protection Related Thereto and Memorandum in Support Thereof)
      filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of Lynn L. Tavenner. (Beran,
      Paula) [ECF No. 143]

      Related Documents:

          a. Notice of Motion and Notice of Hearing (Re: related document(s) 143 Motion to
             Approve Use of Cash Collateral filed by Lynn L. Tavenner, 144 Motion to
             Authorize filed by Lynn L. Tavenner, 145 Motion to Expedite Hearing filed by
             Lynn L. Tavenner) filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of
             Lynn L. Tavenner. Hearing scheduled for 10/4/2019 at 01:30 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Beran,
             Paula) [ECF No. 146]

          b. Hearing held and continued; Motion Granted on Interim Basis; Order to be
             submitted (Re: related document(s) 143 Motion to Approve Use of Cash Collateral
             filed by Lynn L. Tavenner) Appearances: Paula S. Beran; Doug Foley; Robert Van
             Arsdale. Hearing scheduled for 10/24/2019 at 01:00 PM at Judge Huennekens’
             Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (oliverb) Modified
             on 10/4/2019 to correct related document. (Oliver, Betty). [ECF No. 148]

          c. First Interim Order (I) Authorizing Use of Prepetition Secured Lenders’ Cash
             Collateral Pursuant to 11 USC sec. 361 and 363, and (II) Granting Adequate
             Protection and Related Relief to Prepetition Senior Secured Lenders.(Re: related
             document(s)143 Motion to Approve Use of Cash Collateral filed by Lynn L.
             Tavenner) (Bullock, Nathaniel) [ECF No. 151]


       Response Deadline:     October 22, 2019


                              Objection to Trustees Motion for Use of Cash Collateral and Grant of
                              Adequate Protection Related Thereto and Memorandum in Support [Dkt.
                              No. 143] (Re: related document(s) [143] Motion to Approve Use of Cash
       Responses Filed:       Collateral filed by Lynn L. Tavenner) filed by Alexander Richard Green
                              of Clark Hill PLC on behalf of iManage, LLC. (Attachments: # (1)
                              Certificate of Service with Service List) (Green, Alexander) [ECF No.
                              170]




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                                   This Trustee will request that the Court (1) authorize (a) the continued
                                   use of cash collateral, on an interim basis, for the benefit of the Estate
                                   consistent with the budget to be tendered at the hearing and (b) granting
                                   of certain adequate protection related thereto consistent with protections
                                   provided in the order referenced in subsections 8(c) above; and (2)
            Status:                continue the matter for final hearing at November 21, 2019 at 1:00 p.m..
                                   In connection with the Objection of iManage, the Objection has been
                                   resolved in that the Trustee is seeking entry of a cash collateral order
                                   through November 21, 2019, with a corresponding budget, which budget
                                   contains $35,000.00 payable in the second week of November for
                                   iManage’s services during the budget period.



 III.      CONTESTED MATTERS

        9. Amended Motion for Relief from Stay Re: Deposit Account Maintained by Debtor with
           Bank of America, N.A. with Notice of Hearing, (Related Document(s) 126 Motion for
           Relief from Stay filed by Bank of America, N.A.) filed by Michael D. Nord of Gebhardt
           & Smith LLP on behalf of Bank of America, N.A. Hearing scheduled for 10/24/2019 at
           01:00 PM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
           Virginia. (Attachments: # 1 Exhibit(s) 1 # 2 Exhibit(s) 2 # 3 Exhibit(s) 3 # 4 Proposed
           Order # 5 Notice of Motion # 6 Service List as of September 17, 2019 # 7 Service List of
           20 Largest Unsecured Creditors) (Nord, Michael) [ECF No. 158]

           Related Documents:

               a. Motion for Relief from Stay Re: Deposit Account Maintained by Debtor with Bank
                  of America, N.A. with Notice of Hearing, filed by Michael D. Nord of Gebhardt &
                  Smith LLP on behalf of Bank of America, N.A. Hearing scheduled for 10/2/2019
                  at 11:00 AM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000,
                  Richmond, Virginia. (Attachments: # 1 Exhibit(s) 1 # 2 Exhibit(s) 2 # 3 Exhibit(s)
                  3 # 4 Proposed Order # 5 Notice of Motion # 6 Service List (20 Largest Unsecured))
                  (Nord, Michael) [ECF No. 56]

               b. Amended Notice of Motion and Notice of Hearing (Re: related document(s) 56
                  Motion for Relief from Stay filed by Bank of America, N.A.) filed by Michael D.
                  Nord of Gebhardt & Smith LLP on behalf of Bank of America, N.A. Hearing
                  scheduled for 10/24/2019 at 01:00 PM at Judge Huennekens’ Courtroom, 701 E.
                  Broad St., Rm. 5000, Richmond, Virginia. (Attachments: # 1 Service List (20
                  Largest Unsecured)) (Nord, Michael) [ECF No. 60]

               c. Amended Motion for Relief from Stay Re: Deposit Account Maintained by Debtor
                  with Bank of America, N.A. with Notice of Hearing, filed by Michael D. Nord of


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             Gebhardt & Smith LLP on behalf of Bank of America, N.A. Hearing scheduled for
             10/24/2019 at 01:00 PM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm.
             5000, Richmond, Virginia. (Attachments: # 1 Exhibit(s) 1 # 2 Exhibit(s) 2 # 3
             Exhibit(s) 3 # 4 Proposed Order # 5 Notice of Motion # 6 Service List as of
             September 17, 2019 # 7 Service List of 20 Largest Unsecured Creditors) (Nord,
             Michael) [ECF No. 126]

         d. U.S. Treasury receipt of Motion for Relief from Stay(19-34574-KRH) [motion,
            185] (181.00) filing fee. Receipt number 31241003, amount $ 181.00. (Re: Doc #
            126) (U.S. Treasury) [ECF No. 127]

         e. Certificate of Service (Re: related document(s) 126 Motion for Relief from Stay
            filed by Bank of America, N.A.) filed by Michael D. Nord of Gebhardt & Smith
            LLP on behalf of Bank of America, N.A. (Attachments: # 1 Service List as of
            September 17, 2019 # 2 Service List of 20 Largest Unsecured Creditors) (Nord,
            Michael) [ECF No. 138]

         f. Certificate of Service (Re: related document(s) 158 Amended Motion for Relief
            from Stay filed by Bank of America, N.A.) filed by Michael D. Nord of Gebhardt
            & Smith LLP on behalf of Bank of America, N.A. (Attachments: # 1 Service List
            as of September 17, 2019 # 2 Service List of 20 Largest Unsecured Creditors)
            (Nord, Michael) [ECF No. 159]


       Response Deadline:   October 22, 2019


                            Trustee's Response to Amended Motion for Relief from the Automatic
                            Stay as to Bank of America, N.A. to Exercise Rights of Setoff with
                            Respect to Deposit Account Maintained by LeClairRyan, PLLC with
       Responses Filed:     Bank of America, N.A. (Re: related document(s) [158] Amended
                            Motion for Relief from Stay filed by Bank of America, N.A.) filed by
                            Paula S. Beran of Tavenner & Beran, PLC on behalf of Lynn L.
                            Tavenner. (Beran, Paula) [ECF No. 169].


                            The Trustee will consent to the relief sought in the Motion subject to
                            the terms contained in the Trustee’s Response referenced above. To
                            the extent the form of order has not been agreed to before the hearing,
       Status:
                            the Trustee will request that the Motion be continued to November 21,
                            2019, at 1:00 p.m., subject to the entry of a consent order before said
                            hearing.




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   10. Motion for Relief from Stay Re: Motion of Michele Craddock for Limited Relief from the
       Automatic Stay with Notice of Hearing, filed by Michael Gregory Wilson of Michael
       Wilson PLC on behalf of Michele Craddock. Hearing scheduled for 10/24/2019 at 01:00
       PM at Judge Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
       (Attachments: # 1 Notice of Motion) (Wilson, Michael) [ECF No. 83]

      Related documents:

          a. Supplemental Statement Supplemental Statement in Support of the Motion of
             Michele Craddock for Limited Relief from the Automatic Stay (Re: related
             document(s) 83 Motion for Relief from Stay filed by Michele Craddock) filed by
             Michael Gregory Wilson of Michael Wilson PLC on behalf of Michele Craddock.
             (Attachments: # 1 Exhibit(s) A (AAA Panel Award) # 2 Exhibit(s) B (Proposed
             Order)) (Wilson, Michael) [ECF No. 93]


       Response Deadline:    October 17, 2019


                             Trustee's Response to (Trustee's Response and Limited Objection to
                             Motion of Michele Craddock for Limited Relief from the Automatic
       Responses Filed:      Stay) (Re: related document(s) [83] Motion for Relief from Stay filed
                             by Michele Craddock) filed by Paula S. Beran of Tavenner & Beran,
                             PLC on behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 171].


                             The Trustee will consent to the relief sought in the Motion subject to
                             the terms contained in the Trustee’s Response referenced above. To
                             the extent the form of order has not been agreed to before the hearing,
       Status:
                             the Trustee will request that the Motion be continued to November 21,
                             2019, at 1:00 p.m., subject to the entry of a consent order before said
                             hearing.


   11. Motion for Relief from Stay Re: Insurance Premiums and for Expedited Hearing filed by
       Kevin J. Funk of Durrette, Arkema, Gerson & Gill PC on behalf of Bank Direct.
       (Attachments: # (1) Exhibit(s) A (Finance Agreement)) (Funk, Kevin) [ECF No. 162]

      Related documents:

          a. Notice of Hearing (Re: related document(s) [162] Motion for Relief from Stay filed
             by Bank Direct) filed by Kevin J. Funk of Durrette, Arkema, Gerson & Gill PC on
             behalf of Bank Direct. Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
             Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Funk,
             Kevin) [ECF No. 164]


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              b. Motion to Expedite Hearing (Related Document(s) [162] Motion for Relief from
                 Stay filed by Bank Direct) filed by Kevin J. Funk of Durrette, Arkema, Gerson &
                 Gill PC on behalf of Bank Direct. (Attachments: # (1) Exhibit(s) A (Finance
                 Agreement)) (Funk, Kevin) [ECF No. 167]

              c. Notice of Hearing (Re: related document(s) [167] Motion to Expedite Hearing filed
                 by Bank Direct) filed by Kevin J. Funk of Durrette, Arkema, Gerson & Gill PC on
                 behalf of Bank Direct. Hearing scheduled for 10/24/2019 at 01:00 PM at Judge
                 Huennekens’ Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Funk,
                 Kevin) [ECF No. 168]


            Response Deadline:   October 23, 2019


                                 Trustee's Objection to BankDirect Capital Finance, LLC’s Motion for
                                 Relief From the Automatic Stay and Motion for Expedited Hearing
                                 (Re: related document(s) [162] Motion for Relief from Stay filed by
            Responses Filed:
                                 Bank Direct, [167] Motion to Expedite Hearing filed by Bank Direct)
                                 filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of Lynn
                                 L. Tavenner. (Beran, Paula) [ECF No. 176]


                                 The Trustee and Movant have agreed that the Motion may be set for
            Status:
                                 final hearing on November 21, 2019 at 1:00 p.m..



 IV.      UPDATES

       12. Client Files

       13. Report pursuant to Local Rule 2015-(a)-(1)(A)




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                                        Respectfully submitted,

                                        LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

  Dated: October 24, 2019               By: /s/ David N. Tabakin
  Richmond, Virginia                    Paula S. Beran, Esquire (VSB No. 34679)
                                        PBeran@TB-LawFirm.com
                                        David N. Tabakin, Esquire (VSB No. 82709)
                                        DTabakin@TB-LawFirm.com
                                        Tavenner & Beran, PLC
                                        20 North 8th Street
                                        Richmond, Virginia 23219
                                        Telephone: (804) 783-8300
                                        Telecopier: (804) 783-0178

                                                Counsel for Lynn L. Tavenner, Chapter 7 Trustee


                                 CERTIFICATE OF SERVICE

         Pursuant to the Local Rules of this Court and applicable orders, I certify that on this 24th
 day of October 2019, a true copy of the foregoing Amended Agenda was sent electronically to all
 parties receiving ECF notices in this Case.

                                               /s/ David N. Tabakin
                                               Counsel for Lynn L. Tavenner, Chapter 7 Trustee




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